                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

UNITED STATES OF AMERICA,                             )
                                                      )
v.                                                    )
                                                      )       Case No. 1:19-cr-99-TSE
CHRISTOPHER WARREN LAPP,                              )
                                                      )
                          Defendant.                  )


                                             NOTICE

       PLEASE TAKE NOTICE that following entry of this Court’s Sealed Order dated April 16,

2021 (Doc. 143), undersigned counsel was in contact with staff at the Federal Medical Center,

Butner (“Butner”), including Genna D. Petre, Senior Attorney for the Butner Legal Center. Ms.

Petre has advised Butner will not receive Dr. Lapp for additional pretrial treatment absent a finding

of incompetence or an order directing a statutorily recognized evaluation, as Butner is not a pretrial

facility and accepts inmates for the express purpose of conducting court-ordered evaluations. If

the Court requires additional information, Ms. Petre is available for consultation at (919) 575-

3900, ext. 6076.


                                               Respectfully submitted,
                                               Christopher Warren Lapp
                                               By Counsel



/s/ Joseph T. Flood
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing notice was filed by CM/ECF on this the
23rd day of April, 2021, which will then send a notification to counsel of record.


                                         /s/ Joseph T. Flood
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